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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT


DANIEL GREER                                                 NO. 3:20CV 350 (JAM)

vs.
CONNECTICUT DEPARTMENT OF
CORRECTION, ET AL                                            SEPEMBER 9, 2020

                        MOTION FOR TEMPORARY INJUNCTION

        The Plaintiff moves for a hearing on his request for a temporary injunction for the

reasons set forth in his Amendment to the Complaint and has filed a Proposed Order to Show

Cause for this purpose. An affidavit from Rabbi J. David Bleich in support of the facts alleged as

to the religious observance of Yom Kippur, Rosh Hashana and Sukkot will be filed separately

later today.

                                              THE PLAINTIFF

                                              Is/ Jonathan J Einhorn

                                              JONATHAN J. EINHORN
                                              129 WHITNEY AVENUE
                                              NEW HAVEN, CT 06510
                                              FED BAR ct 00163
                                              203-777-3777

                                              CERTIFICATION

        I hereby certi:fY that on this 91h day of September, 2020, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent by e-mail to all parties by operation of the Court's electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing.

                                              Is/ Jonathan J Einhorn
                                              JONATHAN J. EINHORN
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT



DANIEL GREER

                          Plaintiff,
                                                       Civil Action No. 3 :20-cv-350 (JAM)
                   -v-                                 SEPTEMBER 9, 2020

CONNECTICUT DEPARTMENT OF
CORRECTION; CHESHIRE CORRECTIONAL
INSTITUTION; and ROLLIN COOK,
Commissioner for the Department of Correction
in the State of Connecticut,

                          Defendants.



                                  ORDER TO SHOW CAUSE

       WHEREAS, Plaintiff Rabbi Daniel Greer ("Rabbi Greer" or "Plaintiff'), through

counsel, has filed a complaint seeking preliminary injunctive relief enjoining Defendants,

Connecticut Department of Correction; Cheshire Correctional Institution; and Rollin Cook,

Commissioner for the Department of Correction in the State of Connecticut ("Defendants"), to

provide him with the requirements to allow him to celebrate the Jewish High Holy Days

(September 18 through nightfall on October 11)

       It is ORDERED Defendants, or their counsel, shall show cause as to why a preliminary

injunction should not be issued by this Court, at Room _ _ of the Courthouse thereof, located

at 141 Church Street, New Haven, Connecticut on the _th day of September, 2020 at

_a.m./p.m., or as soon thereafter as counsel can be heard, enjoining Defendants to provide

Rabbi Greer with the requirements to allow him to celebrate the Jewish High Holy Days

(September 18 through nightfall on October 11 ).



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      It is further ORDERED that Defendants shall serve opposition papers, if any, on

counsel for Plaintiff, Jonathan J. Einhorn, Esq., 129 Whitney Avenue, New Haven, CT 06510-

1223, einhornlawoffice@gmail.com via CMECF and email on or before the ___th day of

September, 2020.



       So ordered this_ day of September, 2020, at __ a.m./p.m.




                                                            Clerk/United States District Judge




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